         Case 2:16-bk-27007-BB             Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                      Desc
                                            Main Document    Page 1 of 12



                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                 Los Angeles DIVISION

       In re: J.S.M. HEYRI, INC.                             §      Case No. 2:16-bk-27007-BB
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               John J. Menchaca, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $753.33                                 Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $37,709.81               Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $202,290.19




                3) Total gross receipts of $240,000.00 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $240,000.00 from the liquidation of the property of the
      estate, which was distributed as follows:




UST Form 101-7-TDR ( 10 /1/2010)
         Case 2:16-bk-27007-BB             Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                    Desc
                                            Main Document    Page 2 of 12



                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                          $0.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $258,485.87          $202,290.19          $202,290.19


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00            $9,509.17            $9,509.10             $9,509.10

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $400,000.00          $401,601.99          $401,601.99           $28,200.71


   TOTAL DISBURSEMENTS                           $400,000.00          $669,597.03          $613,401.28          $240,000.00




                 4) This case was originally filed under chapter 7 on 12/30/2016. The case was pending for 28
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        05/13/2019                        By: /s/ John J. Menchaca
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR ( 10 /1/2010)
             Case 2:16-bk-27007-BB                  Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                             Desc
                                                     Main Document    Page 3 of 12




                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                           $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                        RECEIVED

 FRAUDULENT TRANSFER                                                                            1241-000                          $240,000.00

                             TOTAL GROSS RECEIPTS                                                                                 $240,000.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                  $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                   PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS


                                             UNIFORM              CLAIMS
     Claim                                                                               CLAIMS                     CLAIMS       CLAIMS
                     CLAIMANT                 TRAN.             SCHEDULED
      NO.                                                                               ASSERTED                   ALLOWED        PAID
                                              CODE            (from Form 6D)


                                                                          None




UST Form 101-7-TDR ( 10 /1/2010)
           Case 2:16-bk-27007-BB          Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21               Desc
                                           Main Document    Page 4 of 12




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM      CLAIMS             CLAIMS             CLAIMS              CLAIMS
   PAYEE                               TRAN.     SCHEDULED           ASSERTED           ALLOWED               PAID
                                       CODE

 Trustee, Fees - John J. Menchaca     2100-000              NA         $12,300.00        $12,300.00         $12,300.00

 Accountant for Trustee, Fees -       3310-000              NA             $4,015.80        $4,015.80        $4,015.80
 Menchaca & Company, LLP
 Accountant for Trustee, Expenses -   3320-000              NA               $34.20           $34.20              $34.20
 Menchaca & Company, LLP
 Banking and Technology Service       2600-000              NA              $660.82          $660.82             $660.82
 Fee - Rabobank, N.A.
 Other State or Local Taxes (post-    2820-000              NA             $1,629.37        $1,629.37        $1,629.37
 petition) - Franchise Tax Board
 Attorney for Trustee Fees (Other     3210-000              NA         $32,923.00        $23,750.00         $23,750.00
 Firm) - Levene, Neale, Bender, Yoo
 & Brill L.L.
 Special Counsel for Trustee Fees -   3210-600              NA        $181,893.26       $159,900.00        $159,900.00
 Kring & Chung, LLP
 Attorney for Trustee Expenses        3220-000              NA              $362.88            $0.00               $0.00
 (Other Firm) - Levene, Neale,
 Bender, Yoo & Brill L.L.P.
 Special Counsel for Trustee          3220-610              NA         $24,666.54              $0.00               $0.00
 Expenses - Kring & Chung, LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA        $258,485.87       $202,290.19        $202,290.19
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM          CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                             TRAN. CODE      SCHEDULED          ASSERTED          ALLOWED                PAID

                                                         None




UST Form 101-7-TDR ( 10 /1/2010)
            Case 2:16-bk-27007-BB      Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21           Desc
                                        Main Document    Page 5 of 12




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT         TRAN.      SCHEDULED
                                                                (from Proofs of    ALLOWED           PAID
                                    CODE      (from Form 6E)
                                                                     Claim)

              Internal Revenue     5800-000               NA           $5,897.37     $5,897.30       $5,897.30
              Service

    1-2 P     FRANCHISE TAX        5800-000               NA           $3,611.80     $3,611.80       $3,611.80
              BOARD

             TOTAL PRIORITY
            UNSECURED CLAIMS                            $0.00          $9,509.17     $9,509.10       $9,509.10




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT         TRAN.      SCHEDULED
                                                                (from Proofs of    ALLOWED           PAID
                                    CODE      (from Form 6F)
                                                                     Claim)

              Internal Revenue     7300-000               NA           $1,174.29     $1,174.29           $0.00
              Service

    1-2U      FRANCHISE TAX        7300-000               NA             $427.70      $427.70            $0.00
              BOARD

     2        Sun Hee Jung Suh     7200-000             $0.00              $0.00         $0.00           $0.00
              Law Group, APC

     3        Hyun Joo Jang        7200-000       $400,000.00        $400,000.00   $400,000.00      $28,200.71


    N/F       Carmen Gonzalez      7100-000             $0.00                NA            NA              NA
              BERMEO &
              MERLUZA, LLP

    N/F       Francisco Jimenez    7100-000             $0.00                NA            NA              NA
              Susan Garrett Esq

              TOTAL GENERAL
             UNSECURED CLAIMS                     $400,000.00        $401,601.99   $401,601.99      $28,200.71




UST Form 101-7-TDR ( 10 /1/2010)
                Case 2:16-bk-27007-BB                                Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                                      Desc
                                                                      Main Document    Page 6 of 12
                                                               Form 1
                                                                                                                                                            Exhibit 8
                                           Individual Estate Property Record and Report                                                                     Page: 1

                                                            Asset Cases
Case No.:    2:16-bk-27007-BB                                                                      Trustee Name:      (007950) John J. Menchaca
Case Name:         J.S.M. HEYRI, INC.                                                              Date Filed (f) or Converted (c): 12/30/2016 (f)
                                                                                                   § 341(a) Meeting Date:       02/06/2017
For Period Ending:         05/13/2019                                                              Claims Bar Date:      05/30/2017

                                      1                                    2                      3                      4                   5                   6

                           Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                         Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       CASH ON HAND                                                       200.00                      0.00                                   0.00                        FA

    2       BANK ACCOUNTS                                                       53.33                      0.00                                   0.00                        FA
            Bank of Hope Checking Account.

    3       OFFICE EQUIPMENT, FURNISHINGS,                                     500.00                      0.00                                   0.00                        FA
            AND SUPPLIES
            Tables and Chairs

    4       FRAUDULENT TRANSFER (u)                                              0.00                      1.00                           240,000.00                          FA
            Transfer of business operations to Red Chocolate, Inc.
            Docket 75 - Per Order Entered 07/16/2018.


    4       Assets Totals (Excluding unknown values)                       $753.33                        $1.00                         $240,000.00                     $0.00




UST Form 101-7-TDR ( 10 /1/2010)
              Case 2:16-bk-27007-BB                Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                              Desc
                                                    Main Document    Page 7 of 12
                                                       Form 1
                                                                                                                                  Exhibit 8
                                   Individual Estate Property Record and Report                                                   Page: 2

                                                    Asset Cases
Case No.:   2:16-bk-27007-BB                                                  Trustee Name:      (007950) John J. Menchaca
Case Name:      J.S.M. HEYRI, INC.                                            Date Filed (f) or Converted (c): 12/30/2016 (f)
                                                                              § 341(a) Meeting Date:    02/06/2017
For Period Ending:   05/13/2019                                               Claims Bar Date:     05/30/2017


 Major Activities Affecting Case Closing:

                           In order to make a meaningful distribution to creditors, trustee and his professionals voluntarily reduced their
                           fees and expenses by approximately 20%.

                           REPORTING PERIOD APRIL 1, 2018 – MARCH 31, 2019

                           GENERAL:

                           On June 22, 2018, The Trustee filed a Motion to Approve Compromise of Controversy. The Settlement
                           Agreement & Mutual Release entered into by the Trustee on the one hand, and Jin Hong, Jae Gag Seo, Red
                           Chocolate, Inc., Jae Gag Seo and Brick and Stone Avenue, Inc. (collectively, the “Hong Parties”) on the
                           other hand (the “Hong Agreement”); and The Settlement Agreement & Mutual Release entered into by the
                           Trustee on the one hand, and Eunice Ma aka Eunice Ma Kim (“Eunice”) and Sae Byul Ma (“Sae”) on the
                           other hand (the “Ma Agreement”).

                           The Hong Agreement provides that the Hong Parties shall pay the estate the sum of $230,000 within 30 days
                           from the execution of the Hong Agreement. In exchange, the Trustee shall dismiss the Lawsuit, and the
                           parties shall release each other from any and all claims.

                           The Ma Agreement provides that Eunice and Sae shall each pay the estate the sum of $5,000 within 30 days
                           from the execution of the Ma Agreement. In exchange, the Trustee shall dismiss the Lawsuit, and the parties
                           shall release each other from any and all claims.

                           This Motion is made pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure on the grounds
                           that the Trustee, in the exercise of his business judgment, has determined that the Hong and Ma Agreements
                           are in the best interests of the estate. The Hong and Ma Agreements avoids the risk and expense of further
                           litigation as against the defendants and provides the estate with the certain sum of $240,000, which will allow
                           the Trustee to pay administrative expenses and provide a distribution to allowed claimants (100% to the
                           administrative and priority claims filed by the Franchise Tax Board and approximately 9% to general
                           unsecured claims).

                           The Hong and Ma Agreements are the product of the parties’ extensive negotiations and ultimate cooperative
                           resolution. The Trustee negotiated the Hong and Ma Agreements, taking into account, among other things,
                           the costs of litigation and the likelihood of succeeding at trial.

                           The Order granting the Motion was entered on 07/16/2018.

                           ESTATE’S TAX RETURNS:
                           The estate's tax return have been prepared and filed with the IRS and FTB.

                           PROOF OF CLAIMS STATUS:
                           Trustee reviewed the proof of claims filed against the estate and determined that objections are not
                           necessary.

                           Notice to professionals to file application for compensation With Proof of Service was served and filed on
                           11/06/2018.

                           Notice to Pay Court Costs Due Sent To: John Menchaca, Total Amount Due $0 . (Jones, Phyllis R.) (Entered:
                           11/06/2018)

                           REPORTING PERIOD APRIL 1, 2017 – MARCH 31, 2018

                           GENERAL:

                           The Trustee received a settlement offer from the Hong Defendants (Jae Gag Seo, Brick & Stone Avenue, Jin
                           Hong, and Red Chocolate) in the amount of $100,000. Their collective offer is that they will provide $100,000,
                           keep the store, and obtain a dismissal of all claims. While the offer is far from what the Trustee wanted, at
UST Form 101-7-TDR ( 10 /1/2010)
             Case 2:16-bk-27007-BB                Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                               Desc
                                                   Main Document    Page 8 of 12
                                                       Form 1
                                                                                                                                   Exhibit 8
                                   Individual Estate Property Record and Report                                                    Page: 3

                                                    Asset Cases
Case No.:   2:16-bk-27007-BB                                                  Trustee Name:      (007950) John J. Menchaca
Case Name:     J.S.M. HEYRI, INC.                                             Date Filed (f) or Converted (c): 12/30/2016 (f)
                                                                              § 341(a) Meeting Date:    02/06/2017
For Period Ending:   05/13/2019                                               Claims Bar Date:     05/30/2017

                          least, at this point, there is a settlement dialogue other than the Conditional Settlement which is very unlikely
                          to result in a final settlement.

                          At this point, the Trustee is not interested in the $100,000 offer so he will move forward with the previously
                          discussed counter-proposals. Specifically, he will send a demand in the amount of $350,000 to the Hong
                          Defendants or seek a termination of the Conditional Settlement and move forward to trial. Trustee expects
                          that the $350,000 will be rejected. The Trustee’s goal is to obtain an agreement to terminate the Conditional
                          Settlement so that he may move this matter forward. However, he will keep the discussions ongoing in regard
                          to a payment from the Defendants.

                          The Trustee has also reached out to the creditor to gauge her interest in purchasing the business. If, and
                          when, she responds the Trustee will also present that offer to the Hong Defendants. Moreover, in order to
                          keep all avenues open, the Trustee may consider a lower threshold for selling the business with the estate
                          keeping the lion’s share of the proceeds.

                          REPORTING PERIOD ENDING MARCH 31, 2017

                          GENERAL:

                          On December 30, 2016 (the “Petition Date”), the Debtor filed a Voluntary Petition under Chapter 7 of the
                          Bankruptcy Code. John J. Menchaca, Chapter 7 trustee, being duly qualified, was appointed and presently is
                          the acting Chapter 7 trustee of the Debtor’s bankruptcy estate.

                          Hyun Joo Jang (“Jang”) is the plaintiff in an action titled Hyun Joo Jang vs. J.S.M. Heyri, Inc., et al., Los
                          Angeles Superior Court Case No. BC563151 (the “Action”). Jang is a creditor of this estate.

                          On August 10, 2016, Jang, obtained a Judgement for $400,000. However, before Jang was able to execute
                          on the Judgement, the Debtor transferred the business operations to Red Chocolate, Inc. Jang was in the
                          process of amending the Judgment to include Red Chocolate (among others) as the alter ego of the Debtor
                          when the Debtor filed its Voluntary Petition.

                          As a result of the Debtor’s bankruptcy filing, the alter ego claims are now property of the estate pursuant to
                          section 541 of the Bankruptcy Code. The Trustee has employed Kring & Chung LLP as special litigation
                          counsel to obtain an amended Judgment in the Action which would allow the Trustee to properly administer
                          the Debtor’s business.

                          PROFESSIONALS:

                          Order Granting Application to Employ Kring & Chung, LLP as Special Litigation Counsel entered on March
                          21, 2017.

                          Order Authorizing Trustee to Employ Levene, Neale, Bender Yoo & Brill LLP as General Bankruptcy Counsel
                          entered
                          March 21, 2017.

                          Order Granting Application to Employ Menchaca & Company as Accountants, effective as of 5/1/17, entered
                          on June 22, 2017.

                          Estate's Tax Returns:
                          N/A

                          Proof of Claims Status:
                          The Notification of Asset Case was filed with the Court on February 23, 2017. Proofs of Claims due by
                          5/30/2017. Government Proof of Claim due by 6/28/2017.

                          Closing:
                          N/A



UST Form 101-7-TDR ( 10 /1/2010)
              Case 2:16-bk-27007-BB                 Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                        Desc
                                                     Main Document    Page 9 of 12
                                                       Form 1
                                                                                                                             Exhibit 8
                                   Individual Estate Property Record and Report                                              Page: 4

                                                    Asset Cases
Case No.:   2:16-bk-27007-BB                                            Trustee Name:      (007950) John J. Menchaca
Case Name:      J.S.M. HEYRI, INC.                                      Date Filed (f) or Converted (c): 12/30/2016 (f)
                                                                        § 341(a) Meeting Date:    02/06/2017
For Period Ending:    05/13/2019                                        Claims Bar Date:     05/30/2017
 Initial Projected Date Of Final Report (TFR): 12/31/2019       Current Projected Date Of Final Report (TFR):   12/07/2018 (Actual)




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 2:16-bk-27007-BB                      Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                                       Desc
                                                            Main Document    Page 10 of 12
                                                              Form 2                                                                            Exhibit 9
                                                                                                                                                Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              2:16-bk-27007-BB                                   Trustee Name:                     John J. Menchaca (007950)
Case Name:             J.S.M. HEYRI, INC.                                 Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***2314                                         Account #:                        ******6700 Checking
For Period Ending: 05/13/2019                                             Blanket Bond (per case limit): $5,000,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                          3                                      4                               5                 6                     7

  Trans.    Check or        Paid To / Received From           Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 08/07/18     {4}        Jin Hong, Jae Gag Seo, Red        Per O.E. 7/16/2018 Order            1241-000         230,000.00                                  230,000.00
                         Chocolate, Inc, Jae Gag Seo and   Granting Motion to Approve
                         Brick and Stone Avenue, Inc       Compromise under Rule 9019

 08/16/18     {4}        Eunice Ma aka Eunice Ma Kim       Per O.E. 7/16/2018 Order            1241-000          10,000.00                                  240,000.00
                         and Sae Byul Ma                   Granting Motion to Approve
                                                           Compromise under Rule 9019

 08/31/18                Rabobank, N.A.                    Bank and Technology Services        2600-000                                260.34               239,739.66
                                                           Fees

 09/28/18                Rabobank, N.A.                    Bank and Technology Services        2600-000                                183.90               239,555.76
                                                           Fees

 10/31/18                Rabobank, N.A.                    Bank and Technology Services        2600-000                                216.58               239,339.18
                                                           Fees

 03/21/19     101        John J. Menchaca                  Distribution payment - Dividend     2100-000                            12,300.00                227,039.18
                                                           paid at 100.00% of $12,300.00;
                                                           Claim # FEE; Filed: $15,250.00
                                                           Per O.E. 03/21/2019

 03/21/19     102        Levene, Neale, Bender, Yoo &      Distribution payment - Dividend     3210-000                            23,750.00                203,289.18
                         Brill L.L.                        paid at 100.00% of $23,750.00;
                                                           Claim # ; Filed: $32,923.00 Per
                                                           O.E. 03/21/2019

 03/21/19     103        Kring & Chung, LLP                Distribution payment - Dividend     3210-600                           159,900.00                 43,389.18
                                                           paid at 100.00% of $159,900.00;
                                                           Claim # ; Filed: $181,893.26 Per
                                                           O.E. 03/21/2019

 03/21/19     104        Menchaca & Company, LLP           Distribution payment - Dividend     3310-000                             4,015.80                 39,373.38
                                                           paid at 100.00% of $4,015.80;
                                                           Claim # ; Filed: $4,015.80 Per
                                                           O.E. 03/21/2019

 03/21/19     105        Menchaca & Company, LLP           Distribution payment - Dividend     3320-000                                 34.20                39,339.18
                                                           paid at 100.00% of $34.20; Claim
                                                           # ; Filed: $34.20 Per O.E.
                                                           03/21/2019

 03/21/19     106        Franchise Tax Board               Distribution payment - Dividend     2820-000                             1,629.37                 37,709.81
                                                           paid at 100.00% of $1,629.37;
                                                           Claim # 4; Filed: $1,629.37 Per
                                                           O.E. 03/21/2019

 03/21/19     107        Internal Revenue Service          Distribution payment - Dividend     5800-000                             5,897.30                 31,812.51
                                                           paid at 100.00% of $5,897.30;
                                                           Claim # ; Filed: $5,897.37 Per
                                                           O.E. 03/21/2019

 03/21/19     108        FRANCHISE TAX BOARD               Distribution payment - Dividend     5800-000                             3,611.80                 28,200.71
                                                           paid at 100.00% of $3,611.80;
                                                           Claim # 1-2 P; Filed: $3,611.80
                                                           Per O.E. 03/21/2019

 03/21/19     109        Hyun Joo Jang                     Distribution payment - Dividend     7200-000                            28,200.71                      0.00
                                                           paid at 7.05% of $400,000.00;
                                                           Claim # 3; Filed: $400,000.00 Per
                                                           O.E. 03/21/2019

                                                                                        Page Subtotals:       $240,000.00      $240,000.00        true




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
                  Case 2:16-bk-27007-BB                   Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                                        Desc
                                                          Main Document    Page 11 of 12
                                                           Form 2                                                                              Exhibit 9
                                                                                                                                               Page: 2
                                           Cash Receipts And Disbursements Record
Case No.:                 2:16-bk-27007-BB                             Trustee Name:                  John J. Menchaca (007950)
Case Name:                J.S.M. HEYRI, INC.                           Bank Name:                     Rabobank, N.A.
Taxpayer ID #:            **-***2314                                   Account #:                     ******6700 Checking
For Period Ending: 05/13/2019                                          Blanket Bond (per case limit): $5,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1             2                    3                                     4                               5                    6                      7

  Trans.       Check or      Paid To / Received From        Description of Transaction    Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                   Tran. Code       $                       $

                                           COLUMN TOTALS                                                    240,000.00           240,000.00                  $0.00
                                                 Less: Bank Transfers/CDs                                         0.00                  0.00
                                           Subtotal                                                         240,000.00           240,000.00
        true
                                                 Less: Payments to Debtors                                                              0.00

                                           NET Receipts / Disbursements                                  $240,000.00            $240,000.00


                                                                                                                                                 false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
                 Case 2:16-bk-27007-BB                 Doc 92 Filed 05/17/19 Entered 05/17/19 10:39:21                           Desc
                                                       Main Document    Page 12 of 12
                                                       Form 2                                                                  Exhibit 9
                                                                                                                               Page: 3
                                       Cash Receipts And Disbursements Record
Case No.:           2:16-bk-27007-BB                          Trustee Name:                   John J. Menchaca (007950)
Case Name:          J.S.M. HEYRI, INC.                        Bank Name:                      Rabobank, N.A.
Taxpayer ID #:      **-***2314                                Account #:                      ******6700 Checking
For Period Ending: 05/13/2019                                 Blanket Bond (per case limit): $5,000,000.00
                                                              Separate Bond (if applicable): N/A

                                       Net Receipts:           $240,000.00
                           Plus Gross Adjustments:                   $0.00
                         Less Payments to Debtor:                    $0.00
                 Less Other Noncompensable Items:                    $0.00

                                         Net Estate:           $240,000.00




                                                                                                 NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                      NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******6700 Checking                            $240,000.00        $240,000.00                    $0.00

                                                                                $240,000.00             $240,000.00                $0.00




UST Form 101-7-TDR (10 /1/2010)
